     Case:17-60400-EJC Doc#:80 Filed:08/12/19 Entered:08/12/19 23:15:19                                  Page:1 of 1


                          UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

In re:                                                                            Case No.: 17−60400−EJC
Linda F. Hill
       Debtor                                                                     Judge: Edward J. Coleman III
                                                                                  Chapter: 13


                                                   FINAL DECREE



The estate of the above named debtor has been fully administered.


IT IS ORDERED THAT:
O Byron Meredith III is discharged as trustee of the estate of the above−named debtor and the bond is canceled; and the case
of the above debtor is closed.


                                                                     Edward J. Coleman III,
                                                                     United States Bankruptcy Judge
                                                                     125 Bull St, Rm 213
                                                                     P.O. Box 8347
                                                                     Savannah, GA 31412

Dated: August 12, 2019




B272 [07/14]
